      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 1 of 29




            IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

 SOUTHWEST KEY PROGRAMS,                    §    CIVIL ACTION
 INC.,                                      §    NO. 4:18-CV-03289
                                            §
              Plaintiffs                    §
                                            §
                                            §   JURY TRIAL DEMAND
 v.                                         §
                                            §
                                            §   VIOLATION OF THE FAIR
 CITY OF HOUSTON,                           §   EMPLOYMENT AND
                                            §   HOUSING ACT
                                            §   PURSUANT TO
              Defendants.                   §   42 U.S.C. § 3601 et seq.

                CITY OF HOUSTON’S ORIGINAL ANSWER

       Defendant the City of Houston files its Original Answer as follows:

                             I.     INTRODUCTION

1.     Defendant City of Houston (“COH”, “City” or “Defendant”) has acted to

ensure compliance with its ordinances affecting the health and safety of the

unaccompanied minors that Plaintiff Southwest Key Programs, Inc. (“Southwest

Key” or “Plaintiff’) holds in Houston under contract with the federal government. It

is the City’s concern for these children that drives its insistence on compliance with

health and safety ordinances.

2.     The City has informed Southwest Key that it must obtain the proper

Institutional Group I (“I-1”) Certificate of Occupancy to house children – from
     Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 2 of 29




infancy to adolescence – unaccompanied by parents or other personal guardians – at

its proposed facility at 419 Emancipation Avenue.

3.    Even though two of Southwest Key’s existing three facilities in Houston hold

Institutional Group I certificates, Southwest Key did not apply for an I-1 certificate

for 419 Emancipation. Rather, Southwest Key misrepresented that the facility would

be used as before – to shelter adults and children accompanied by and under the care

of their parents. Informed by the City that the existing Residential Group I (“R-1”)

Certificate was not valid to house unaccompanied children, Southwest Key refused

to apply for an I-1 certificate, submit required building plans, and allow the premises

to be inspected for that new intended use. The City has not impeded inspections or

certifications of Southwest Key facilities; the City cannot act on applications

Southwest Key will not file.

4.    Instead, Southwest Key followed its misrepresentation with attempts to

pressure the City to disregard its ordinances through diversionary complaints –

including this lawsuit – about Mayor Turner’s principled statements opposing the

separation of families.

5.    While Mayor Turner strongly condemns the separation of families, he also

made clear before this lawsuit that the City will always protect the health and safety

of unaccompanied children in Houston, such as those Southwest Key houses and

proposes to house here:


                                          2
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 3 of 29




       “I don’t want anyone to criticize me for moving too quickly or in haste
       because others may have moved in haste on this policy so we’re going
       to take the necessary time to make sure that we are prudent, that we are
       efficient, and we take every conceivable step that is in the best interest
       of the kids in this facility,” he said.1
The Mayor elaborated after this suit was filed:

       “The city is only interested in the safety, security and well being of
       children and will continue to enforce all building codes and regulations
       designed to accomplish that purpose.

       “Southwest Key has repeatedly been asked to submit plans outlining
       the intended use of the facility to determine the proper occupancy use
       based on the International Building Code.”

       “They have failed to do so. Hopefully they will realize that they are not
       exempt and must follow the rules like everyone else. We continue to
       wait for them to respond.”2

Southwest Key’s charge that the City and its the Mayor are motivated by animus

toward minorities and immigrants, in violation of federal and state fair housing laws,

is nothing short of ludicrous. The City takes pride in its reputation as the most

diverse and welcoming city in the United States.

6.     The City believes that years ago Southwest Key began in good faith its

mission of providing compassionate care for children, including migrants. But the

City also believes Southwest Key’s capacity for compassionate care has been



1 Tanvi Misra, “Houston Mayor: I Won’t Be an Enabler of Migrant Family Separation,” Citilab, June 19,
2018, https://www.citylab.com/amp/article/563228/?__twitter_impression=true (last viewed September
30, 2018).
2 Olivia Pulsinelli, “Southwest Key sues city of Houston over facility for immigrant children,” Houston
Business Journal, Sept. 16, 2018, https://www.bizjournals.com/houston/news/2018/09/16/southwest-key-
sues-city-of-houston-over-facility.html (last viewed Oct. 7, 2018).

                                                   3
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 4 of 29




overwhelmed by the influx of unaccompanied minors – whether separated at the

border or arriving alone. As Southwest Key’s CEO, Juan Sanchez, admitted about

the exploding number of unaccompanied minors, “We got caught off guard by it

ramping up so quickly.”3 “Now,” he said, “you have a hundred, 50-to-100 kids –

and where are you going to put them? – a day!”4

7.     Whether caused by this influx or not, Southwest Key has recently faced a

number of issues with the care it provides to migrant children. Shoddy background

checks resulted in Southwest Key’s hiring a staff member who raped detained

children in Arizona, and the state has moved to revoke all 13 of Southwest Key’s

permits to operate.5 The federal government recently shut down the Southwest Key

shelter in Youngstown, Arizona.6 Overworked staff members are too tired to chase

after children who run away from Southwest Key shelters.7 This is particularly


3 Henry Graber, “Shelter in the Storm,” Slate, Jul. 6, 2018, https://amp.slate.com/news-and-
politics/2018/07/southwest-key-and-family-separations-was-the-shelter-complicit.html (last viewed Oct.
6, 2018).
4 Antonia Cereijido and Maria Hinojosa, “Torn Apart 2: The Moral Dilemma of Juan Sanchez,” Latino
USA, Aug. 8, 2018, https://latinousa.org/2018/08/17/juansanchez/ (last listened Sep. 30, 2018)
5 E.g., Perla Trevizo, “Arizona moves to revoke licenses from all Southwest Key migrant-children
shelters,” Arizona Daily Star, Sep. 20, 2018, https://tucson.com/news/local/arizona-moves-to-revoke-
licenses-from-all-southwest-key-migrant/article_2fea6c10-bc77-11e8-83cb-17461825a3f8.html (last
viewed Sep. 30, 2018).
6 Matthew Casey, “Federal Officials Close Southwest Key Programs Shelter In Youngtown, Arizona,”
Fronteras, October 5, 2018, https://fronterasdesk.org/content/708892/federal-officials-close-southwest-
key-programs-shelter-youngtown-arizona (last viewed Oct. 6, 2018).
7 Kavitha Surana and Robert Faturechi “Workers Running Shelters for Immigrant Kids Are Overworked,
Undertrained, and Really Stressed Out,” Mother Jones, June 28, 2018,
https://www.motherjones.com/politics/2018/06/workers-running-shelters-for-immigrant-kids-are-
overworked-undertrained-and-really-stressed-out/ (last viewed Sep. 30, 2018); Laura B. Martinez,
“Police: Teen ran away from Southwest Key center in Brownsville,” The Brownsville Herald, June 25,
2018 https://www.brownsvilleherald.com/news/local/police-teen-ran-away-from-southwest-key-center-
in-brownsville/article_c6508c6c-7897-11e8-b666-6306f57bcc9f.html (last viewed Sep. 30, 2018).

                                                   4
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 5 of 29




disturbing given Southwest Key’s averments in its Complaint that children at 419

Emancipation will have free egress to the streets Southwest Key facilities in Texas

have been cited for hundreds of code violations over the last three years, justifying

Mayor Turner’s insistence that the City be “meticulous” in ensuring compliance with

its health and safety ordinances.8 The hundreds of citations against Southwest Key

include 23 for “improper medical treatment” – “including one case where a clinician

failed to follow up for two weeks with a minor who had tested positive for a sexually

transmitted disease.”9

8.      The City agrees that Southwest Key, as it admits in its Complaint here and has

admitted in other judicial proceedings, is bound by the Flores Settlement,10 which

specifies standards for the humane treatment of unaccompanied minors in the

custody of the federal government and its agents. The Flores Settlement sets out

“Minimum Standards for Licensed Programs” – such as Southwest Key’s. The first

is that they “shall comply with all applicable state child welfare laws and regulations

and all state and local building, fire, health and safety codes ...” (emphasis added).

Other     Minimum         Standards      address       the   unaccompanied         minor’s      living

accommodations; health care; individual needs assessment; educational services;


8 Leif Reigstad, “Southwest Key Cited for Hundreds of Violations in the Last Three Years,” Texas
Monthly, June 28, 2018 https://www.texasmonthly.com/news/records-reveal-southwest-key-cited-
hundreds-violations-last-three-years/ (last viewed Sep. 30, 2018).
9 Henry Graber, supra n. 6.
10 Flores v. Reno, Case No. CV 85-4544-RJK (C.D. Cal.); cited in Plaintiff’s Complaint as Flores v.
Lynch, 838 F.3d 898 (9th Cir. 2016).

                                                   5
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 6 of 29




recreational activities including time spent outdoors; individual and group

counseling; acculturation and adaption services; “visitation and contact with family

members (regardless of their immigration status)”; reasonable right to privacy;

family reunification services; and “legal services information regarding the

availability of free legal services”; among other standards. The Flores Settlement

provides for inspection of Licensed Facilities on reasonable notice, as well as a

migrant minor’s right to file a compliance action in the federal district court where

he is being kept. A copy of the Flores Settlement is attached as Exhibit 1.

9.     Although the City and Southwest Key agree on the applicability and

importance of Flores, the City does not believe that Southwest Key is fully

compliant with the Settlement provisions. Indeed, the City is informed and believes

that Southwest Key has taken actions in Houston to evade inspection and compliance

with Flores.

10.    The City learned that Southwest Key may also operate another shelter, at 1550

La Concha Lane, to detain unaccompanied children, despite having only an R-2

certificate. When elected officials sought to inspect the La Concha facility in June

2018, they were denied entry. Forty-five days later, when the officials were allowed

in, the younger children were gone. They had been removed. In an August 15, 2018

press conference, the visiting officials said they were told that children were not




                                          6
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 7 of 29




allowed outdoors – in violation of Flores. The officials said that security concerns

were voiced to explain why the children were not getting to go outside.

11.    The City has requested that Southwest Key provide additional information

about the La Concha facility because it is not operating under an I-1 certificate,

although occupied by unaccompanied children.

12.    The City is heartened by Southwest Key’s and its CEO’s recent admissions

that they are not fulfilling their own standards for compassionate care and that they

have brought in outside parties to review their operations:

       Jeff Eller, a spokesperson for Southwest Key, confirmed Monday that
       the Washington, D.C.-based Child Welfare League of America has
       agreed to conduct a “top-to-bottom review” of the processes in place at
       Southwest Key’s 26 shelters, and at its Austin headquarters. 11

       The City is hopeful that – through this lawsuit or otherwise – the parties will

come together to ensure compliance with City ordinances and the Flores Settlement

to protect the migrant children who are housed in Houston. To this end, the City

must enforce its Building, Fire, and Health Code requirements to ensure that

unaccompanied children—without regard to their national original or method of

placement—are safely housed in facilities. Southwest Key’s plea that the City

classify its facility the same as shelters that house children accompanied by their




11 Shannon Najmabadi, “Southwest Key hires child welfare organization to review processes,” Texas
Tribune, Oct. 1, 2018, https://www.texastribune.org/2018/10/01/southwest-key-hires-child-welfare-
organization-review-processes/ (last viewed Oct. 6, 2018).

                                                  7
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 8 of 29




parents or guardians is nonsensical and contrary to the requirements of the

International Building Code.

            II.   RESPONSES TO PLAINTIFF’S ALLEGATIONS

13.    With respect to paragraph 1 of Plaintiff’s Original Complaint, the City admits

that Plaintiff has brought suit and seeks relief, but denies all remaining allegations.

14.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 2 of Plaintiff’s Original Complaint.

15.    The City admits the first sentence of paragraph 3 of Plaintiff’s Original

Complaint. The City lacks knowledge or information sufficient to support a belief

concerning the allegations in sentence 2 of paragraph 3 of Plaintiff’s Original

Complaint. With respect to sentence 3, the City admits that 419 Emancipation has

a history of use of a shelter but is without information sufficient to support a belief

as to whether that facility is uniquely suitable for Southwest Key’s and the

government’s purposes. The City admits the remaining allegations in paragraph 3.

16.    With respect to paragraph 4, the City admits that Plaintiff applied for permits.

The City lacks knowledge or information sufficient to support a belief concerning

the remaining allegations in paragraph 4 of Plaintiff’s Original Complaint.

17.    With respect to paragraph 5, the City admits it issued a certificate of

occupancy on June 8, 2018 for the facility located at 419 Emancipation for use as




                                           8
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 9 of 29




“OCC REPORT/SHELTER/DORMATORY/88 CODE.” The City denies it issued

a certificate of occupancy for the “Casa Sunzal Shelter.”

18.    With respect to paragraph 6, the City admits that 419 Emancipation underwent

a Safety Survey and a Fire Prevention Permit was issued on or about June 16, 2018.

The City further admits that the City reported to that 419 Emancipation had

everything needed to operate as a shelter/dormitory. The City admits the allegations

in the third sentence of paragraph 6. The City denies all other the allegations

contained in paragraph 6 of Plaintiff’s Original Complaint.

19.    The City denies the allegations contained in paragraph 7 of Plaintiff’s Original

Complaint.

20.    The City admits that Plaintiff is a domestic nonprofit corporation. The City

lacks knowledge or information sufficient to support a belief concerning the

remaining allegations in paragraph 8 of Plaintiff’s Original Complaint.

21.    The City admits the allegations in the first sentence of paragraph 9. The City

lacks knowledge or information sufficient to support a belief concerning the

allegations in sentences 2 and 3 of paragraph 9 of Plaintiff’s Original Complaint.

The City admits the allegations in sentence 4 of paragraph 9.

22.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 10 of Plaintiff’s Original Complaint.




                                           9
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 10 of 29




23.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 11 of Plaintiff’s Original Complaint.

24.    The City admits the allegations contained in paragraph 12 of Plaintiff’s

Original Complaint.

25.     The City admits the allegations contained in paragraph13 of Plaintiff’s

Original Complaint.

26.    The City admits the allegations in paragraph 14 of Plaintiff’s Original

Complaint.

27.    The City admits the allegations in paragraph 15 of Plaintiff’s Original

Complaint.

28.    The City admits the allegations in paragraph 16 of Plaintiff’s Original

Complaint.

29.    The City denies the last sentence in paragraph 17 of Plaintiff’s Original

Complaint. The City admits the remaining allegations in paragraph 17 of Plaintiff’s

Original Complaint.

30.    The City admits the allegations contained in paragraph 18 of Plaintiff’s

Original Complaint.

31.    The City admits the allegations contained in paragraph 19 of Plaintiff’s

Original Complaint.




                                         10
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 11 of 29




32.    The City admits the allegations contained in paragraph 20 of Plaintiff’s

Original Complaint.

33.    The City denies the allegations contained in paragraph 21 of Plaintiff’s

Original Complaint.

34.    The City admits the allegations contained in paragraph 22 of Plaintiff’s

Original Complaint.

35.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 23 of Plaintiff’s Original Complaint.

36.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 24 of Plaintiff’s Original Complaint.

37.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 25 of Plaintiff’s Original Complaint.

38.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 26 of Plaintiff’s Original Complaint.

39.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 27 of Plaintiff’s Original Complaint.

40.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 28 of Plaintiff’s Original Complaint.

41.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 29 of Plaintiff’s Original Complaint.


                                         11
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 12 of 29




42.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 30 of Plaintiff’s Original Complaint.

43.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 31 of Plaintiff’s Original Complaint.

44.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 32 of Plaintiff’s Original Complaint.

45.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 33 of Plaintiff’s Original Complaint. The

City notes that it makes no sense, and in fact would be highly negligent, to allow

young children unaccompanied by parents to freely leave the facility. The City also

notes that public officials were told that children at another Southwest Key facility

were not allowed to leave the facility.

46.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 34 of Plaintiff’s Original Complaint.

47.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 35 of Plaintiff’s Original Complaint.

48.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 36 of Plaintiff’s Original Complaint.

49.    The City admits that 419 Emancipation has long been used for adults and

families without a home. The City admits that the Star of Hope operated 419


                                          12
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 13 of 29




Emancipation for many years as a shelter for women and children. The City further

admits that the City of Houston housed displaced families with children after

Hurricane Harvey at 419 Emancipation. The City admits the allegations in sentence

4 of paragraph 37. The City denies all other allegations in paragraph 37 of Plaintiff’s

Original Complaint.

50.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 38 of Plaintiff’s Original Complaint. The

City has not received building plans and has no knowledge of the current

configuration of 419 Emancipation as Plaintiff alleges to have spent $3,000,000

preparing and staffing the facility.

51.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 39 of Plaintiff’s Original Complaint.

52.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 40 of Plaintiff’s Original Complaint.

53.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 41 of Plaintiff’s Original Complaint.

54.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 42 of Plaintiff’s Original Complaint.

55.    With respect to paragraph 43, the City admits it issued a certificate of

occupancy on June 8, 2018 for the facility located at 419 Emancipation for use as


                                          13
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 14 of 29




“OCC REPORT/SHELTER/DORMATORY/88 CODE.” The City denies it issued

a certificate of occupancy for the “Casa Sunzal Shelter.” The City admits it issued

a life safety compliance certificate on June 8, 2018 for 419 Emancipation, Building

A, for Educational Use. The City denies it issued a life safety compliance certificate

for the “Casa Sunzal Shelter.”

56.    With respect to paragraph 44, the City admits it conducted a fire safety

inspection at 419 Emancipation on or about June 14, 2018. The City further admits

that a Fire Prevention Permit was issued for 419 Emancipation on June 16, 2018.

The City denies the allegations contained in the second sentence of paragraph 44 of

Plaintiff’s Original Complaint.

57.    With respect to the first sentence of paragraph 45, the City admits the City

stated 419 Emancipation was fully-permitted as a shelter/dormitory. With respect

to sentences 2 and 3, the City admits that City representatives reported that 419

Emancipation underwent a full occupancy inspection and had everything needed to

operate as a shelter/dormitory. The City admits the allegations in sentence 4 of

paragraph 45. The City denies all other the allegations contained in paragraph 45 of

Plaintiff’s Original Complaint.

58.    The City denies the allegations contained in paragraph 46 of Plaintiff’s

Original Complaint.




                                          14
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 15 of 29




59.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations in paragraph 47 of Plaintiff’s Original Complaint.

60.    The City admits the allegations contained in the first, third, and fourth

sentences of paragraph 48 of Plaintiff’s Original Complaint. The City denies the

allegations contained in the second and fifth sentences of paragraph 48.    The City

lacks knowledge or information sufficient to support a belief concerning the

allegations in the sixth, seventh, and eighth sentences of paragraph 48.

61.    The City admits the allegations contained in the first sentence of paragraph

49. With respect to sentence 3, the City admits that Mayor Turner described 419

Emancipation was an excellent location for a shelter, but denies the remaining

allegations. The City denies the allegations contained in the second and fourth

sentences of paragraph 49. With respect to the fifth sentence in paragraph 49, the

City admits Mayor Turner made the quoted remarks, but denies Plaintiff’s

allegations and characterization of those remarks.

62.    The City denies the allegations contained in the first sentence of paragraph 50

of Plaintiff’s Original Complaint. The City admits the allegations contained in the

second sentence of paragraph 50.

63.    The City denies the allegations contained in paragraph 51 of Plaintiff’s

Original Complaint.




                                          15
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 16 of 29




64.    The City admits the allegation contained in paragraph 52 of Plaintiff’s

Original Complaint.

65.    The City denies the allegation contained in the first sentence of paragraph 53

of Plaintiff’s Original Complaint.      The City lacks knowledge or information

sufficient to support a belief concerning the allegations contained in the second

sentence of paragraph 53. The City denies the allegation contained in the third

sentence of paragraph 53 of Plaintiff’s Original Complaint.

66.    The City admits the first sentence of paragraph 54 is a partial quotation of the

City’s June 21, 2018 press release. The City denies the allegations in the second

sentence of paragraph 54. The City lacks knowledge or information sufficient to

support a belief concerning the allegations contained in the third and fourth

sentences of paragraph 54. The City notes that Southwest Key’s application for

occupancy did not disclose that children, unaccompanied by a parent or guardian,

would live at 419 Emancipation. To date, the specific intended use of the property

by Southwest Key is not fully known. The City has not received an application and

full building plans that show the interior living and sleeping arrangements and

declare the specific intended use of the property with respect to unaccompanied

children.




                                          16
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 17 of 29




67.    With respect to paragraph 55, the City denies it alluded to harassment in any

way. The City admits it sought clarification concerning the ages of persons to be

housed at 419 Emancipation and the use of the property.

68.    The City denies the allegations contained in paragraph 56 of Plaintiff’s

Original Complaint.

69.    The City denies the allegations contained in sentence 1 in paragraph 57 of

Plaintiff’s Original Complaint. The City admits the remaining allegations contained

in paragraph 57 of Plaintiff’s Original Complaint.

70.    The City admits the first sentence of paragraph 58. The City denies the

remaining allegations contained in paragraph 58 of Plaintiff’s Original Complaint.

71.    The City admits the allegations contained in the first and third sentences of

paragraph 59 of Plaintiff’s Original Complaint. The City lacks knowledge or

information sufficient to support a belief concerning the allegations contained in the

second sentence of paragraph 59.

72.    The City denies the allegations contained in paragraph 60 of Plaintiff’s

Original Complaint.

73.    The City admits that there is an internal City memorandum. The City denies

the remaining allegations in paragraph 61.

74.    The City admits it made the statement quoted in paragraph 62 of Plaintiff’s

Original Complaint.


                                         17
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 18 of 29




75.    The City denies the allegations contained in paragraph 63 of Plaintiff’s

Original Complaint.

76.    The City admits the allegations contained in the first, fourth and fifth

sentences of paragraph 64 of Plaintiff’s Original Complaint. The City denies the

allegations contained in the second and third sentences of paragraph 64. The City

notes that jails are classified as I-3 Institutional facilities under Section 308 of the

Building Code and must comply with much more rigorous requirements than an I-1

Institutional facility.

77.    The City denies the allegations contained in paragraph 65 of Plaintiff’s

Original Complaint.

78.    The City admits the allegations contained in paragraph 66 of Plaintiff’s

Original Complaint, with the exception that City denies that the August 3, 2018 letter

to Southwest Key referenced a “detention facility”. The City further denies

Plaintiff’s characterization of the City’s position as a “media” stance; the City is

fulfilling its obligations under the Building Code according to provisions of the

Building Code.

79.    The City denies the allegations contained in paragraph 67 of Plaintiff’s

Original Complaint.

80.    The City denies the allegations contained in paragraph 68 of Plaintiff’s

Original Complaint.


                                          18
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 19 of 29




81.    The City denies the allegations contained in the first sentence of paragraph 69

of Plaintiff’s Original Complaint. The City admits to the allegations contained in

the second sentence of paragraph 69; the City Fire Chief’s letter advised that the

Certificate of Occupancy was invalid for the new intended use—housing children

unaccompanied by a parent or guardian. The City also notes that the Certificate of

Occupancy issued for 419 Emancipation has not been revoked and no formal

procedure for revocation of the Certificate of Occupancy has taken place.

82.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 70 of Plaintiff’s Original

Complaint.

83.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 71 of Plaintiff’s Original

Complaint.

84.    The City denies the allegations contained in the first sentence of paragraph 72

of Plaintiff’s Original Complaint.     The City lacks knowledge or information

sufficient to support a belief concerning the allegations contained in the second

sentence of paragraph 72 of Plaintiff’s Original Complaint.

85.    The City admits that it previously inspected grease traps at 419 Emancipation

and that an annual inspection of grease traps was required on or about August 24,

2018. The City denies all remaining allegations contained in paragraph 73.


                                          19
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 20 of 29




86.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 74 of Plaintiff’s Original

Complaint.

87.    The City denies the allegations contained in paragraph 75 of Plaintiff’s

Original Complaint.

88.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 76 of Plaintiff’s Original

Complaint.

89.    The City denies the allegations contained in paragraph 77 of Plaintiff’s

Original Complaint.

90.    The City denies the allegations contained in paragraph 78 of Plaintiff’s

Original Petition.

91.    The City denies the allegations contained in paragraph 79 of Plaintiff’s

Original Petition.

92.    With respect to paragraph 80, the City denies it discriminatorily insists that

housing unaccompanied alien minors requires an Institutional use classification.

The City lacks knowledge or information sufficient to support a belief concerning

Plaintiff’s federal grant.




                                         20
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 21 of 29




93.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 81 of Plaintiff’s Original

Complaint.

94.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 82 of Plaintiff’s Original

Complaint.

95.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 83 of Plaintiff’s Original

Complaint.

96.    When read in conjunction with subheader “G,” paragraph 84 is predicated on

the presumption that there is no difference between a facility that shelters

unaccompanied and accompanied children, which is untrue. On that basis, the City

denies the allegations contained in paragraph 84 of Plaintiff’s Original Complaint.

97.    The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 85 of Plaintiff’s Original

Complaint. Plaintiff’s Complaint is unclear as to exactly what “these facilities”

refers to.

98.    The City denies the allegations contained in paragraph 86 of Plaintiff’s

Original Complaint.




                                         21
      Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 22 of 29




99.    Paragraph 87 does not include any allegations and therefore does not require

a substantive response.

100. The City denies the allegations contained in paragraph 88 of Plaintiff’s

Original Complaint.

101. The City denies the allegations contained in paragraph 89 of Plaintiff’s

Original Complaint.

102. The City denies the allegations contained in paragraph 90 of Plaintiff’s

Original Complaint.

103. Paragraph 91 does not include any allegations and therefore does not require

a substantive response.

104. The City denies the allegations contained in paragraph 92 of Plaintiff’s

Original Complaint.

105. The City denies the allegations contained in paragraph 93 of Plaintiff’s

Original Complaint.

106. The City denies the allegations contained in paragraph 94 of Plaintiff’s

Original Complaint.

107. Paragraph 95 does not include any allegations and therefore does not require

a substantive response.

108. The City admits the allegations contained in paragraph 96 of Plaintiff’s

Original Complaint.


                                        22
    Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 23 of 29




109. City denies the allegations contained in paragraph 97 of Plaintiff’s Original

Complaint.

110. The City denies the allegations contained in paragraph 98 of Plaintiff’s

Original Complaint.

111. With respect to paragraph 99, the City admits that procedures exist to revoke

a certificate of occupancy. The City denies the remaining allegations contained in

paragraph 99 of Plaintiff’s Original Complaint.

112. The City denies the allegations contained in paragraph 100 of Plaintiff’s

Original Complaint.

113. The City denies the allegations contained in paragraph 101 of Plaintiff’s

Original Complaint.

114. Paragraph 102 does not include any allegations and therefore does not require

a substantive response.

115. The City admits the allegations contained in paragraph 103 of Plaintiff’s

Original Complaint.

116. The City denies the allegations contained in paragraph 104 of Plaintiff’s

Original Complaint.

117. The City denies the allegations contained in paragraph 105 of Plaintiff’s

Original Complaint.




                                        23
    Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 24 of 29




118. The City denies the allegations contained in paragraph 106 of Plaintiff’s

Original Complaint.

119. Paragraph 107 does not include any allegations and therefore does not require

a substantive response.

120. With respect to paragraph 108, the City admits that 419 Emancipation should

be deemed an institutional facility pursuant to its use as described by Plaintiff. The

City denies the remaining allegations contained in paragraph 108.

121. The City denies the allegations contained in paragraph 109 of Plaintiff’s

Original Complaint.

122. The City denies the allegations contained in paragraph 110 of Plaintiff’s

Original Complaint.

123. The City denies the allegations contained in paragraph 111 of Plaintiff’s

Original Complaint.

124. With respect to paragraph 112, the City denies that Plaintiff is entitled to the

declarations it seeks.

125. Paragraph 113 does not include any allegations and therefore does not require

a substantive response.

126. The City denies the allegations contained in paragraph 114 of Plaintiff’s

Original Complaint.




                                         24
    Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 25 of 29




127. The City denies the allegations contained in paragraph 115 of Plaintiff’s

Original Complaint.

128. The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 116 of Plaintiff’s Original

Complaint.

129. The City denies the allegations contained in paragraph 117 of Plaintiff’s

Original Complaint.

130. The City denies the allegations contained in paragraph 118 of Plaintiff’s

Original Complaint.

131. The City denies the allegations contained in paragraph 119 of Plaintiff’s

Original Complaint.

132. The City denies the allegations contained in paragraph 120 of Plaintiff’s

Original Complaint.

133. The City denies the allegations contained in paragraph 121 of Plaintiff’s

Original Complaint.

134. The City denies the allegations contained in paragraph 122 of Plaintiff’s

Original Complaint.

135. The City denies the allegations contained in paragraph 123 of Plaintiff’s

Original Complaint.




                                      25
    Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 26 of 29




136. The City denies the allegations contained in paragraph 124 of Plaintiff’s

Original Complaint.

137. The City denies the allegations contained in paragraph 125 of Plaintiff’s

Original Complaint.

138. The City lacks knowledge or information sufficient to support a belief

concerning the allegations contained in paragraph 126 of Plaintiff’s Original

Complaint.

139. With respect to paragraph 127, the City denies that Plaintiff is entitled to

injunctive relief.

140. Paragraph 128 does not include any allegations and therefore does not require

a substantive response.

141. With respect to paragraph 129, the City denies that Plaintiff is entitled to

injunctive relief.

142. With respect to paragraph 130, the City denies that Plaintiff is entitled to any

of its requested relief.

143. With respect to paragraph 131, the City denies that Plaintiff is entitled to

injunctive relief.

144. With respect to paragraph 132, the City denies that Plaintiff is entitled to any

relief or any judgment entered in its favor.




                                          26
    Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 27 of 29




  III.   AFFIRMATIVE DEFENSES, SPECIFIC DENIALS, AND OTHER
             MATTERS CONSTITUTING AN AVOIDANCE

145. Plaintiff’s claims must be dismissed because it failed to exhaust its

administrative remedies. The City has not denied or revoked the certificate of

occupancy for 419 Emancipation. City representatives have merely opined, based

on information given to the City by Plaintiff, that the appropriate occupancy for the

use described by Plaintiff would be Institutional-1. Plaintiff has instead filed suit

rather than go through the appropriate administrative process.

146. Plaintiff lacks standing to bring discrimination claims on behalf of any

unaccompanied minors. Plaintiff is a corporate entity and does not purport to be the

legal guardian of any individual persons alleging to have been discriminated against

on the basis of race, color or national origin.

147. Plaintiff’s claims are not ripe for adjudication. There is no case or controversy

between Plaintiff and the City because Plaintiff has not participated in the

administrative process or cooperated with City officials with respect to permitting

or certificates of occupancy. Plaintiff has failed to exhaust its administrative

remedies prior to filing this lawsuit.

148. Plaintiff has failed to mitigate its damages.

149. The City pleads that it protected by the doctrine of governmental immunity.

150. The City pleads that the court lacks jurisdiction over Plaintiff’s claims.



                                           27
    Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 28 of 29




      For the foregoing reasons, the City prays that Plaintiff take nothing by way of

this lawsuit and for such further relief to which it might be justly entitled.

                                  Respectfully submitted,


                                  RONALD C LEWIS
                                  CITY ATTORNEY
                                  JUDITH L. RAMSEY
                                  CHIEF, GENERAL LITIGATION SECTION

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                                  ATTORNEYS FOR THE CITY OF HOUSTON




                                           28
    Case 4:18-cv-03289 Document 8 Filed in TXSD on 10/09/18 Page 29 of 29




                         CERTIFICATE OF SERVICE

       I hereby certify that on October 9, 2018, I served the following attorneys with
a true and correct copy of the foregoing document in accordance with Rule 5(b)(3)
of the Federal Rules of Civil Procedure via the court’s electronic filing / service
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                                         29
